      Case 4:21-cv-00108-MW-MAF Document 14 Filed 10/20/21 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


KIMOY HODGE,

      Petitioner,

v.                                            Case No.: 4:21cv108-MW/MAF

STATE OF FLORIDA,

     Respondent.
___________________________/

                    ORDER ACCEPTING AND ADOPTING
                     REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation. ECF No. 12. Petitioner has not filed any objections. However,

Petitioner has filed a pro se “Notice to the Court,” that preceded the filing of the

Report and Recommendation. ECF No. 13. In it, Petitioner sought to inform the

Court of delays in the mail and that the Respondent’s motion to dismiss included the

wrong case number. Petitioner contends that this typographical error divests this

Court of jurisdiction to rule on Respondent’s motion. Id. at 1.
      Case 4:21-cv-00108-MW-MAF Document 14 Filed 10/20/21 Page 2 of 3




       To Petitioner’s first point, neither the motion to dismiss nor any subsequent

orders of this Court have been returned as undeliverable to Petitioner.1 Moreover,

the docket reflects that the Petitioner’s response to the pending motion to dismiss

was received and that the Magistrate Judge considered the response in drafting the

Report and Recommendation. See ECF No. 10. This Court is satisfied that the delay

in the mail that Petitioner cites has not disrupted Petitioner’s opportunity to respond

to the motion to dismiss or the Report and Recommendation.

       As to Petitioner’s second point, a typographical error in Respondent’s motion

to dismiss does not divest this Court of jurisdiction. Nor is it relevant to the substance

in this case. Accordingly, upon consideration, no objections having been filed by the

parties,

       IT IS ORDERED:

       The report and recommendation, ECF No. 12, is accepted and adopted as

this Court’s opinion. Respondent’s motion to dismiss, ECF No. 8, is GRANTED.

The Clerk shall enter judgment stating, “Petitioner’s § 2254 petition, ECF No. 1, is

DISMISSED as untimely.” A certificate of appealability and leave to appeal in




       1
       The only order that has been returned as undeliverable to Petitioner is an order directing
Respondent to file a response to Petitioner’s § 2254 petition in May of 2021. See ECF No. 6.
                                               2
     Case 4:21-cv-00108-MW-MAF Document 14 Filed 10/20/21 Page 3 of 3




forma pauperis are DENIED. The Clerk shall close the file.

      SO ORDERED on October 20, 2021.

                                     s/Mark E. Walker
                                     Chief United States District Judge




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